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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

------------------------------------------------------------------------x
 Moshe Attia,

                            Plaintiff,                                         Index No: 3:20-cv-3203




          -against-                                                            Demand for Trial by Jury

 Experian Information Solutions, Inc.,
 Equifax Information Services, LLC,
 Trans Union LLC,
 Blue Federal Credit Union,

                            Defendant(s).
------------------------------------------------------------------------x

                                                COMPLAINT
        Plaintiff Moshe Attia ("Plaintiff"), by and through his attorneys, and as for his Complaint

against Defendant Experian Information Solutions, Inc. (“Experian”), Equifax Information

Services, LLC (“Equifax”), Defendant Trans Union LLC (“Trans Union”), and Defendant Blue

Federal Credit Union (“BFCU”), respectfully sets forth, complains, and alleges, upon

information and belief, the following:

                                      JURISDICTION AND VENUE

    1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as well as 15

        U.S.C. § 1681p et seq.

    2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), being that the

        acts and transactions occurred here, Plaintiff resides here, and the Defendants transact

        business here.
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3. Plaintiff brings this action for damages arising from the Defendants’ violations of 15

     U.S.C. § 1681 et seq., commonly known as the Fair Credit Reporting Act (“FCRA”).

4. Additionally, Plaintiff brings this action for damages arising from Defendant’s violations

     of the Truth in Lending Act under 15 U.S.C. § 1601 et seq, commonly known as the Fair

     Credit Billing Act.



                                         PARTIES

5. Plaintiff is a resident of the State of Texas, County of Dallas, residing at 2819 N Fitzhugh

     Avenue, Apt 2314, Dallas, TX 75204.

6. At all times material hereto, Plaintiff was a “consumer” as said term is defined under 15

     U.S.C. § 1681a(c).


7. Defendant Equifax Information Services, LLC is a consumer reporting agency as defined

     by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities in this

     judicial district. Defendant Equifax is a Georgia corporation registered to do business in

     the State of Texas, and may be served with process upon the Corporation Service

     Company, its registered agent for service of process at 211 E 7th Street, Ste 620, Austin,

     TX, 78701.

8. At all times material here to Equifax is a consumer reporting agency regularly engaged in

     the business of assembling, evaluating and disbursing information concerning consumers

     for the purpose of furnishing consumer reports, as said term is defined under 15 U.S.C.

     § 1681(d) to third parties.

9.   At all times material hereto, Equifax disbursed such consumer reports to third parties

     under a contract for monetary compensation.
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10. Defendant Experian Information Solutions, Inc. is a consumer reporting agency as

   defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities

   in this judicial district. Defendant Experian is an Ohio corporation registered to do

   business in the State of Texas, and may be served with process upon CT Corporation, its

   registered agent for service of process at 1999 Bryan St., Ste. 900, Dallas, TX 75201.

11. At all times material here to Experian is a consumer reporting agency regularly engaged

   in the business of assembling, evaluating and disbursing information concerning

   consumers for the purpose of furnishing consumer reports, as said term is defined under

   15 U.S.C. § 1681d to third parties.

12. At all times material hereto, Experian disbursed such consumer reports to third parties

   under a contract for monetary compensation.

13. Defendant TransUnion, LLC is a consumer reporting agency as defined by 15 U.S.C.

   § 1681a(f) and conducts substantial and regular business activities in this judicial district.

   Defendant Transunion is a Delaware corporation registered to do business in the State of

   Texas, and may be served with process upon the Corporation Service Company, its

   registered agent for service of process at 211 E. 7th Street, Ste. 620, Austin, TX 78701.

14. At all times material here to Transunion is a consumer reporting agency regularly

   engaged in the business of assembling, evaluating and disbursing information concerning

   consumers for the purpose of furnishing consumer reports, as said term is defined under

   15 U.S.C. § 1681d to third parties.

15. At all times material hereto, Transunion disbursed such consumer reports to third parties

   under a contract for monetary compensation.
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16. Defendant Blue Federal Credit Union, is a person who furnishes information to consumer

   reporting agencies under 15 U.S.C. § 1681s-2 with an address for service at 114 East 7th

   Avenue, Cheyenne, WY, 82001.



                                 FACTUAL ALLEGATIONS

17. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

   though fully stated herein with the same force and effect as if the same were set forth at

   length herein.

                              BFCU Dispute and Violation

18. On information and belief, on a date better known to Defendants Equifax, Experian, and

   Transunion (hereinafter “the Bureaus”), the Bureaus prepared and issued credit reports

   concerning the Plaintiff that included inaccurate information relating to his BFCU

   account.

19. The inaccurate information furnished by Defendant BFCU and published by the Bureaus

   is inaccurate because the tradeline includes inaccurate and false late payment notation.

20. The Plaintiff made every payment timely, and any resulting delinquency was an error by

   BFCU failing to send a bill to his proper address.


21. The Bureaus have been reporting this inaccurate information through the issuance of false

   and inaccurate credit information and consumer reports that they have disseminated to

   various persons and credit grantors, both known and unknown.


22. Plaintiff notified the Bureaus that he disputed the accuracy of the information being

   reported, with separate dispute letters sent on or around August 28, 2019.
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23. It is believed, and therefore averred, that the Bureaus notified Defendant BFCU of the

   Plaintiff’s dispute.


24. Upon receipt of the dispute of the account from the Plaintiff by the Bureaus, BFCU failed

   to conduct a reasonable investigation and continued to report false and inaccurate adverse

   information on the consumer report of the Plaintiff with respect to the disputed account.

25. Had BFCU done a proper investigation it would have been revealed that the account lists

   false late payment entries.

26. Furthermore, BFCU failed to continuously mark the account as disputed despite receiving

   notice of the Plaintiff’s dispute.

27. Despite the dispute by the Plaintiff that the information on her consumer report was

   inaccurate with respect to the dispute account, the Bureaus did not evaluate or consider

   any of the information, claims, or evidence of the Plaintiff and did not make an attempt to

   substantially reasonably verify that the derogatory information concerning the disputed

   account was inaccurate.


28. The Bureaus violated 15 U.S. Code § 1681i (a)(1)(A) by failing to conduct a reasonable

   investigation and failed to delete or correct the disputed trade lines within 30 days of

   receiving Plaintiff’s dispute letter.

29. Notwithstanding Plaintiff’s efforts, Defendants continue to publish and disseminate such

   inaccurate information to other third parties, persons, entities and credit grantors.

30. As a result of Defendants’ failure to comply with the FCRA, Plaintiff has suffered a

   decreased credit score due to the inaccurate information on Plaintiff’s credit file and a

   chilling effect on future applications for credit.
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                                    Fair Credit Billing Violation


31. On information and belief, on a date better known to Defendant BFCU, Plaintiff entered

   into a credit transaction with Defendant BFCU for personal, family and household

   purposes (“the Account”).

32. Plaintiff was not provided with every billing statement as required, making it impossible

   at times for the Plaintiff to pay.

                              FIRST CAUSE OF ACTION
                      (Willful Violation of the FCRA as to Equifax)
 33. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

     though fully stated herein with the same force and effect as if the same were set forth at

     length herein.

 34. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et

     seq.

 35. Equifax violated 15 U.S.C. § 1681e by failing to establish or to follow reasonable

     procedures to assure maximum possible accuracy in the preparation of the credit report

     and credit files that Equifax maintained concerning the Plaintiff.

 36. Equifax has willfully and recklessly failed to comply with the Act. The failure of Equifax

     to comply with the Act include but are not necessarily limited to the following:

            a) The failure to follow reasonable procedures to assure the maximum possible

               accuracy of the information reported;

            b) The failure to correct erroneous personal information regarding the Plaintiff

               after a reasonable request by the Plaintiff;

            c) The failure to remove and/or correct the inaccuracy and derogatory credit

               information after a reasonable request by the Plaintiff;
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              d) The failure to promptly and adequately investigate information which

                  Defendant Equifax had notice was inaccurate;

              e) The continual placement of inaccurate information into the credit report of the

                  Plaintiff after being advised by the Plaintiff that the information was inaccurate;

              f) The failure to continuously note in the credit report that the Plaintiff disputed

                  the accuracy of the information;

              g) The failure to promptly delete information that was found to be inaccurate, or

                  could not be verified, or that the source of information had advised Equifax to

                  delete;

              h) The failure to take adequate steps to verify information Equifax had reason to

                  believe was inaccurate before including it in the credit report of the consumer.

              i) Failure to reply to Plaintiff’s dispute notice.

     37. As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered damage

        by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

        emotional pain, anguish, humiliation and embarrassment of credit denial.

     38. The conduct, action and inaction of Equifax was willful rendering Equifax liable for

        actual, statutory and punitive damages in an amount to be determined by a Judge/ and or

        Jury pursuant to 15 U.S.C. § 1681n.

     39. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax in

        an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant, Equifax, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681n.
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                           SECOND CAUSE OF ACTION
                    (Negligent Violation of the FCRA as to Equifax)
40. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

   though fully stated herein with the same force and effect as if the same were set forth at

   length herein.

41. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681

   et seq.

42. Equifax violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information from

   the credit file of the Plaintiff after receiving actual notice of such inaccuracies and

   conducting reinvestigation and by failing to maintain reasonable procedures with which

   to verify the disputed information in the credit file of the Plaintiff.

43. Equifax has negligently failed to comply with the Act. The failure of Equifax to comply

   with the Act include but are not necessarily limited to the following:

         a) The failure to follow reasonable procedures to assure the maximum possible

             accuracy of the information reported;

         b) The failure to correct erroneous personal information regarding the Plaintiff

             after a reasonable request by the Plaintiff;

         c) The failure to remove and/or correct the inaccuracy and derogatory credit

             information after a reasonable request by the Plaintiff;

         d) The failure to promptly and adequately investigate information which

             Defendant Equifax had notice was inaccurate;

         e) The continual placement of inaccurate information into the credit report of the

             Plaintiff after being advised by the Plaintiff that the information was inaccurate;
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              f) The failure to continuously note in the credit report that the Plaintiff disputed

                  the accuracy of the information;

              g) The failure to promptly delete information that was found to be inaccurate, or

                  could not be verified, or that the source of information had advised Equifax to

                  delete;

              h) The failure to take adequate steps to verify information Equifax had reason to

                  believe was inaccurate before including it in the credit report of the consumer.

              i) Failure to reply to Plaintiff’s dispute notice.

     44. As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered damage

        by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

        emotional pain, anguish, humiliation and embarrassment of credit denial.

     45. The conduct, action and inaction of Equifax was negligent, entitling the Plaintiff to

        damages under 15 U.S.C. § 1681o.

     46. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax in

        an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant, Equifax, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681o.

                                THIRD CAUSE OF ACTION
                         (Willful Violation of the FCRA as to Experian)
     47. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

        though fully stated herein with the same force and effect as if the same were set forth at

        length herein.
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 48. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et

    seq.

 49. Experian violated 15 U.S.C. § 1681e by failing to establish or to follow reasonable

    procedures to assure maximum possible accuracy in the preparation of the credit report

    and credit files that Experian maintained concerning the Plaintiff.

 50. Experian has willfully and recklessly failed to comply with the Act. The failure of

    Experian to comply with the Act include but are not necessarily limited to the following:

           a) The failure to follow reasonable procedures to assure the maximum possible

              accuracy of the information reported;

           b) The failure to correct erroneous personal information regarding the Plaintiff

              after a reasonable request by the Plaintiff;

           c) The failure to remove and/or correct the inaccuracy and derogatory credit

              information after a reasonable request by the Plaintiff;

           d) The failure to promptly and adequately investigate information which

              Defendant Experian had notice was inaccurate;

           e) The continual placement of inaccurate information into the credit report of the

              Plaintiff after being advised by the Plaintiff that the information was inaccurate;

           f) The failure to continuously note in the credit report that the Plaintiff disputed

              the accuracy of the information;

           g) The failure to promptly delete information that was found to be inaccurate, or

              could not be verified, or that the source of information had advised Experian to

              delete;
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              h) The failure to take adequate steps to verify information Experian had reason to

                  believe was inaccurate before including it in the credit report of the consumer.

     51. As a result of the conduct, action and inaction of Experian, the Plaintiff suffered damage

        by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

        emotional pain, anguish, humiliation and embarrassment of credit denial.

     52. The conduct, action and inaction of Experian was willful rendering Experian liable for

        actual, statutory and punitive damages in an amount to be determined by a Judge/ and or

        Jury pursuant to 15 U.S.C. § 1681n.

     53. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Experian in

        an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant, Experian, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681n.

                               FOURTH CAUSE OF ACTION
                      (Negligent Violation of the FCRA as to Experian)
     54. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

        though fully stated herein with the same force and effect as if the same were set forth at

        length herein.

     55. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681

        et seq.

     56. Experian violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information from

        the credit file of the Plaintiff after receiving actual notice of such inaccuracies and

        conducting reinvestigation and by failing to maintain reasonable procedures with which

        to verify the disputed information in the credit file of the Plaintiff.
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 57. Experian has negligently failed to comply with the Act. The failure of Experian to comply

    with the Act include but are not necessarily limited to the following:

          a) The failure to follow reasonable procedures to assure the maximum possible

              accuracy of the information reported;

          b) The failure to correct erroneous personal information regarding the Plaintiff

              after a reasonable request by the Plaintiff;

          c) The failure to remove and/or correct the inaccuracy and derogatory credit

              information after a reasonable request by the Plaintiff;

          d) The failure to promptly and adequately investigate information which

              Defendant Experian had notice was inaccurate;

          e) The continual placement of inaccurate information into the credit report of the

              Plaintiff after being advised by the Plaintiff that the information was inaccurate;

          f) The failure to continuously note in the credit report that the Plaintiff disputed

              the accuracy of the information;

          g) The failure to promptly delete information that was found to be inaccurate, or

              could not be verified, or that the source of information had advised Experian to

              delete;

          h) The failure to take adequate steps to verify information Experian had reason to

              believe was inaccurate before including it in the credit report of the consumer.

 58. As a result of the conduct, action and inaction of Experian, the Plaintiff suffered damage

    by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

    emotional pain, anguish, humiliation and embarrassment of credit denial.
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     59. The conduct, action and inaction of Experian was negligent, entitling the Plaintiff to

        damages under 15 U.S.C. § 1681o.

     60. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Experian in

        an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant, Experian, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681o.

                                 FIFTH CAUSE OF ACTION
                      (Willful Violation of the FCRA as to Transunion)
     61. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

        though fully stated herein with the same force and effect as if the same were set forth at

        length herein.

     62. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et

        seq.

     63. Transunion violated 15 U.S.C. § 1681e by failing to establish or to follow reasonable

        procedures to assure maximum possible accuracy in the preparation of the credit report

        and credit files that Transunion maintained concerning the Plaintiff.

     64. Transunion has willfully and recklessly failed to comply with the Act. The failure of

        Transunion to comply with the Act include but are not necessarily limited to the

        following:

               a) The failure to follow reasonable procedures to assure the maximum possible

                  accuracy of the information reported;

               b) The failure to correct erroneous personal information regarding the Plaintiff

                  after a reasonable request by the Plaintiff;
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          c) The failure to remove and/or correct the inaccuracy and derogatory credit

              information after a reasonable request by the Plaintiff;

          d) The failure to promptly and adequately investigate information which

              Defendant Transunion had notice was inaccurate;

          e) The continual placement of inaccurate information into the credit report of the

              Plaintiff after being advised by the Plaintiff that the information was inaccurate;

          f) The failure to continuously note in the credit report that the Plaintiff disputed

              the accuracy of the information;

          g) The failure to promptly delete information that was found to be inaccurate, or

              could not be verified, or that the source of information had advised Transunion

              to delete;

          h) The failure to take adequate steps to verify information Transunion had reason

              to believe was inaccurate before including it in the credit report of the

              consumer.

          i) Failure to reply to Plaintiff’s dispute notice.

 65. As a result of the conduct, action and inaction of Transunion, the Plaintiff suffered

    damage by loss of credit, loss of ability to purchase and benefit from credit, and the

    mental and emotional pain, anguish, humiliation and embarrassment of credit denial.

 66. The conduct, action and inaction of Transunion was willful rendering Transunion liable

    for actual, statutory and punitive damages in an amount to be determined by a Judge/ and

    or Jury pursuant to 15 U.S.C. § 1681n.

 67. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Transunion

    in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.
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   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant, Transunion, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681n.

                                  SIXTH CAUSE OF ACTION
                     (Negligent Violation of the FCRA as to Transunion)
     68. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

         though fully stated herein with the same force and effect as if the same were set forth at

         length herein.

     69. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681

         et seq.

     70. Transunion violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information from

         the credit file of the Plaintiff after receiving actual notice of such inaccuracies and

         conducting reinvestigation and by failing to maintain reasonable procedures with which

         to verify the disputed information in the credit file of the Plaintiff.

     71. Transunion has negligently failed to comply with the Act. The failure of Transunion to

         comply with the Act include but are not necessarily limited to the following:

               a) The failure to follow reasonable procedures to assure the maximum possible

                   accuracy of the information reported;

               b) The failure to correct erroneous personal information regarding the Plaintiff

                   after a reasonable request by the Plaintiff;

               c) The failure to remove and/or correct the inaccuracy and derogatory credit

                   information after a reasonable request by the Plaintiff;

               d) The failure to promptly and adequately investigate information which

                   Defendant Transunion had notice was inaccurate;
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              e) The continual placement of inaccurate information into the credit report of the

                  Plaintiff after being advised by the Plaintiff that the information was inaccurate;

              f) The failure to continuously note in the credit report that the Plaintiff disputed

                  the accuracy of the information;

              g) The failure to promptly delete information that was found to be inaccurate, or

                  could not be verified, or that the source of information had advised Transunion

                  to delete;

              h) The failure to take adequate steps to verify information Transunion had reason

                  to believe was inaccurate before including it in the credit report of the

                  consumer.

              i) Failure to reply to Plaintiff’s dispute notice.

     72. As a result of the conduct, action and inaction of Transunion, the Plaintiff suffered

         damage by loss of credit, loss of ability to purchase and benefit from credit, and the

         mental and emotional pain, anguish, humiliation and embarrassment of credit denial.

     73. The conduct, action and inaction of Transunion was negligent, entitling the Plaintiff to

         damages under 15 U.S.C. § 1681o.

     74. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Transunion

         in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant, Transunion, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681o.

                               SEVENTH CAUSE OF ACTION
                  (Willful Violation of the FCRA as to Defendant BFCU)
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 75. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

    though fully stated herein with the same force and effect as if the same were set forth at

    length herein.

 76. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et

    seq.

 77. Pursuant to the Act, all persons who furnished information to reporting agencies must

    participate in re-investigations conducted by the agencies when consumers dispute the

    accuracy and completeness of information contained in a consumer credit report.

 78. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

    agency when the agency receives a notice of dispute from a consumer such as the

    Plaintiff. The furnisher must then conduct a timely investigation of the disputed

    information and review all relevant information provided by the agency.

 79. The results of the investigation must be reported to the agency and, if the investigation

    reveals that the original information is incomplete or inaccurate, the information from a

    furnisher such as the Defendant must be reported to other agencies which were supplied

    such information.

 80. The Defendant BFCU violated 15 U.S.C. § 1681s-2 by the publishing of the Account

    Liability Representation; by failing to fully and improperly investigate the dispute of the

    Plaintiff with respect to the Account Liability Representation; by failing to review all

    relevant information regarding same by failing to correctly report results of an accurate

    investigation to the credit reporting agencies.

 81. Specifically, the Defendant BFCU continued to report this account on the Plaintiff’s

    credit report after being notified of his dispute regarding the late payment.
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     82. Had BFCU done a reasonable investigation it would have found that the Plaintiff timely

           made every payment required of him and any failure to do so was caused by the

           Defendant.

     83. Additionally, Defendant BFCU failed to continuously mark the account as disputed

           despite receiving notice of the Plaintiff’s dispute.

     84. As a result of the conduct, action and inaction of the Defendant BFCU, the Plaintiff

           suffered damage for the loss of credit, loss of the ability to purchase and benefit from

           credit, a chilling effect on future applications for credit, and the mental and emotional

           pain, anguish, humiliation and embarrassment of credit denials.

     85. The conduct, action and inaction of Defendant BFCU was willful, rendering Defendant

           BFCU liable for actual, statutory and punitive damages in an amount to be determined

           by a jury pursuant to 15 U.S.C. § 1681n.

     86. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Defendant

           BFCU in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant BFCU for damages together with attorney’s fees and court costs pursuant to 15 U.S.C.

§ 1681n.

                                  EIGHTH CAUSE OF ACTION
                     (Negligent Violation of the FCRA as to Defendant BFCU)
     87. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

           though fully stated herein with the same force and effect as if the same were set forth at

           length herein.

     88. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681

           et seq.
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 89. Pursuant to the Act, all person who furnished information to reporting agencies must

    participate in re-investigations conducted by the agencies when consumers dispute the

    accuracy and completeness of information contained in a consumer credit report.

 90. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

    agency when the agency receives a notice of dispute from a consumer such as the

    Plaintiff. The furnisher must then conduct a timely investigation of the disputed

    information and review all relevant information provided by the agency.

 91. The results of the investigation must be reported to the agency and, if the investigation

    reveals that the original information is incomplete or inaccurate, the information from a

    furnisher such as the Defendant must be reported to other agencies which were supplied

    such information.

 92. Defendant BFCU is liable to the Plaintiff for failing to comply with the requirements

    imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-2.

 93. After receiving the Dispute Notices from the Bureaus, Defendant BFCU negligently

    failed to conduct its reinvestigation in good faith.

 94. A reasonable investigation would require a furnisher such as Defendant BFCU to

    consider and evaluate a specific dispute by the consumer, along with all other facts,

    evidence and materials provided by the agency to the furnisher.

 95. Had BFCU done a reasonable investigation it would have found that the Plaintiff timely

    made every payment as required.

 96. Additionally, Defendant BFCU failed to continuously mark the account as disputed

    despite receiving notice of the Plaintiff’s dispute.
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     97. The conduct, action and inaction of Defendant BFCU was negligent, entitling the

           Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

     98. As a result of the conduct, action and inaction of the Defendant BFCU, the Plaintiff

           suffered damage for the loss of credit, loss of the ability to purchase and benefit from

           credit, a chilling effect on future applications for credit, and the mental and emotional

           pain, anguish, humiliation and embarrassment of credit denials.

     99. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from the

           Defendant BFCU in an amount to be determined by the Court pursuant to 15 U.S.C.

           § 1681n and 1681o.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in his favor against

Defendant BFCU, for damages together with attorney’s fees and court costs pursuant to 15 U.S.C.

§ 1681o.

                                  NINTH CAUSE OF ACTION
                (Violation of the Fair Credit Billing Act as to Defendant BFCU)
   100.         Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully state herein with the same force and effect as if the same were set forth at

       length herein.

   101.         Regulation Z, which implements the Fair Credit Billing Act, requires a creditor to

       conduct a “reasonable investigation” after it receives a notice of a billing error.

   102.         Defendant BFCU did not conduct a reasonable investigation here, rather it verified

       the late payment.

   103.         Furthermore, the Defendant BFCU failed to all statements to the Plaintiff during

       the collection of this debt.

   104.         Defendant BFCU actions caused Plaintiff actual damages.
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   105.       Furthermore, Defendant’s actions were part of an ongoing pattern or practice of

       failure to comply with its obligations under the Fair Credit Billing Act.

   106.       By Failing to comply with the Fair Credit Billing Act, Defendant BFCU is subject

       to liability pursuant to 15 U.S.C. § 1640.

   WHEREFORE, Plaintiff, Moshe Attia, an individual, demands judgment in her favor against

Defendant GM Financial, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681(n).



                                DEMAND FOR TRIAL BY JURY

   107.       Plaintiff demands and hereby respectfully requests a trial by jury for all claims

       and issues this complaint to which Plaintiff is or may be entitled to a jury trial.



                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

       a) For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be awarded for

           each negligent violation as alleged herein;

       b) For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);

       c) For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);

       d) For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

       e) For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

       f) For attorney fees and costs provided and pursuant to 15 U.S.C. § 1681n(a)(3), 15

           U.S.C. § 1681o(a)(2) and 15 U.S.C. § 1640(a)(3);
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      g) For any such other and further relief, as well as further costs, expenses and

          disbursements of this action as this Court may deem just and proper.

Dated: October 20, 2020



                                                   /s/ Yaakov Saks
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